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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

LA’DREA L. LUCKEY,

               Plaintiff,

      vs.                                                    CIV. ACTION NO. ______________

ST. JUDE’S RECOVERY CENTER,                                  JURY TRIAL DEMANDED
INC., doing business as Ascensa Health;
ANDREA MCLARTY; and
JYLYAN JONES,

               Defendants.


                                COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff La’Drea L. Luckey (“Luckey” or “Plaintiff”), by and

through the undersigned Counsel of Record, and hereby files this Complaint for

Damages against Defendants St. Jude’s Recovery Center, Inc., doing business as

Ascensa Health, Andrea McLarty, and Jylyan Jones (collectively, “Defendants”),

respectfully showing the Court as follows:




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                                 JURISDICTION AND VENUE

                                                     1.

       The above-captioned case is commenced pursuant to: (a) 42 U.S.C. §§ 2000e,

et seq., Title VII of the Civil Rights Act of 1964, as amended, (“Title VII”) for

pregnancy discrimination and retaliation; (b) the Americans with Disability Act of

1990, as amended, 42 U.S.C. §§ 12101, et seq., (“ADA”) for pregnancy

discrimination and retaliation; (c) 29 U.S.C.§§ 701, et seq., the Rehabilitation Act

of 1973 (“Rehab Act”) for disability discrimination and retaliation; and (d) the laws

of the State of Georgia for intentional infliction of emotional distress, as well as

negligent retention and supervision.

                                                     2.

       This Court has original jurisdiction over Plaintiff’s Title VII, ADA, and Rehab

Act claims pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over

Plaintiff’s State law claim pursuant to 28 U.S.C. § 1367.

                                                     3.

       Venue is proper in this District and Division pursuant to 28 U.S.C. § 1391(b)

because Defendants reside and/or maintain a place of business in the Northern

District of Georgia, Atlanta Division, and the unlawful employment practices

forming the basis of the Complaint occurred in this District and Division.

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                                                     4.

       Plaintiff satisfied all administrative prerequisites to commence the above-

captioned case. Specifically, Plaintiff timely submitted, inter alia, a Charge of

Discrimination with the Equal Employment Opportunity (“EEOC”) within one-

hundred-and-eighty (180) calendar days from the day the discrimination took place

(Charge No. 410-2020-07918) and Plaintiff has timely commenced the above-

captioned case within ninety (90) days of receipt of the Notice of Right to Sue, dated

November 5, 2020.

                                                  PARTIES

                                                     5.

       Luckey is a female citizen of the United States, resident of the State of

Georgia, and entitled to bring an action of this nature and type.

                                                     6.

       Luckey is a resident of the Northern District of Georgia and is subject to this

Court’s jurisdiction.

                                                     7.

       At all times relevant to the above-captioned case, Luckey was an employee of

St. Jude’s Recovery Center, Inc., doing business as Ascensa Health within the

meaning of, inter alia, Title VII and the ADA.

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                                                    8.

       Defendant St. Jude’s Recovery Center, Inc., doing business as Ascensa

Health, (“Ascensa Health”) is a domestic nonprofit corporation (Control Number

A500255) authorized to do, and is actually doing, business in the State of Georgia.

                                                     9.

       Ascensa Health is a behavioral health system of care located at 139

Renaissance Parkway, NE, Atlanta, Georgia 30308-2324.

                                                     10.

       At all relevant times, Ascensa Health received, inter alia, Federal financial

assistance, funding, and/or grants.

                                                     11.

       Ascensa Health may be served with Summons and this Complaint for

Damages via its Registered Agent, Suzanne Shaffer, 139 Renaissance Parkway,

Atlanta, Georgia, 30308.

                                                     12.

       Ascensa Health is and was, at all relevant times, a private employer engaged

in an industry affecting commerce within the meaning of Title VII and the ADA,

employing more than fifty (50) employees for each working day in each of twenty

(20) or more calendar weeks in the current and preceding calendar years.

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                                                     13.

       Defendant Andrea McLarty (“McLarty”) is and was, at all relevant times, a

citizen of the United States, resident of the State of Georgia, and subject to the

jurisdiction of this Court.

                                                     14.

       McLarty is and was, at all relevant times, an employee of Ascensa Health,

Director of Administrative Services, involved in the day-to-day operation of

Ascensa Health, and regularly exercised authority to:                              (a) hire and terminate

employees, (b) determine the schedules and assignments for employees, (c)

supervise employees, and (d) otherwise control operation of Ascensa Health.

                                                     15.

       McLarty is an employee of Ascensa Health and, at all relevant times, McLarty

was Luckey’s supervisor, who participated in the unlawful discriminatory and

tortious conduct described herein

                                                     16.

       McLarty may be served with process at Ascensa Health located at 139

Renaissance Parkway, Atlanta, Georgia, 30308.




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                                                     17.

       Defendant Jylyan Jones (“Jones”) is and was, at all relevant times, a citizen

of the United States, resident of the State of Georgia, and subject to the jurisdiction

of this Court.

                                                     18.

       Jones is and was, at all relevant times, an employee of Ascensa Health, Family

Care Center Coordinator, involved in the day-to-day operation of Ascensa Health,

and regularly exercised authority to: (a) hire and terminate employees, (b) determine

the schedules and assignments for employees, (c) supervise employees, and (d)

otherwise control operation of Ascensa Health.

                                                     19.

       Jones is an employee of Ascensa Health and, at all relevant times, Jones was

Luckey’s direct supervisor, who participated in the unlawful discriminatory and

tortious conduct described herein

                                                     20.

       Jones may be served with process at Ascensa Health located at 139

Renaissance Parkway, Atlanta, Georgia, 30308.




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                                     STATEMENT OF FACTS

                                                     21.

       Ascensa Health is a behavioral health system of care located at 139

Renaissance Parkway, NE, Atlanta, Georgia 30308-2324.

                                                     22.

       At all relevant times, Ascensa Health received, inter alia, Federal financial

assistance, funding, and grants related to substance abuse treatment.

                                                     23.

       Luckey is a twenty-nine (29) year old female and, at all relevant times, Luckey

was pregnant.

                                                     24.

       At all relevant times, Luckey was a qualified individual under, inter alia, the

ADA and Rehab Act.

                                                     25.

       After graduating from high school, Luckey attended California State

University, where Luckey received a Bachelor’s of Arts Degree in Criminal Justice

with a minor in Sociology. Subsequently, Luckey received a Master’s Degree in

Social Work from Clark Atlanta University. Additionally, Luckey received several



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certifications, including SBIRT, NCTSN, CPI, CPR and First Aid, CBT, and Relias

Training.

                                                    26.

      Prior to working with Ascensa Health, Luckey participated in several

internship programs, including, Underdue Social Services, Inc., StandUp for Kids-

Atlanta, and H.J.C. Bowden Senior Multipurpose Facility.

                                                    27.

      On or about June 26, 2018, Luckey began working for Ascensa Health as a

PRN employee in the Childcare Department and, in or about August 2018, Luckey

was promoted to Childcare Supervisor, responsible for, inter alia, scheduling

services, maintaining caseloads, preparing assessments, clinical and support

services, client sessions, as well as other functions necessary to advance Ascensa

Health’s mission.

                                                    28.

      In or about October 2019, Jones became Ascensa Health’s Family Care Center

Coordinator and Luckey’s direct supervisor.

                                                    29.

      At all relevant times, Luckey diligently performed all tasks while meeting or

exceeding all performance expectations while employed by Ascensa Health. In

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addition to receiving positive evaluations in February 2019 and 2020, Johnson stated

that Luckey does a “great job” locating opportunities for children in the program.

Moreover, Luckey’s former supervisor and the former Program Director

complimented Luckey’s performance, including, but not limited to, weekly

Luckey’s performance in childcare and staff team meetings.

                                                     30.

       In or about October 2019, Ascensa Health terminated an employee, Kaday

Howard (“Howard”), who subsequently commenced litigation and filed a claim

based upon unlawful employment practices. On or about December 5, 2019, Jones

and Rusty Gray (“Gray”), Vice President of Clinical Services, called the staff into a

room, where Jones and Gray stated that, although employees were not allowed to

testify, there was an Ascensa Health employee willing to testify on behalf of

Howard. Specifically, Jones stated, “If you think you had a target on your shoulder

then you definitely have one now” and “your jobs are in jeopardy” if anyone testified

on behalf of Howard. Everyone left the meeting with the belief that, if anyone

discussed, reported, or testified about unlawful employment practices, their

employment would be immediately terminated. At the conclusion of the meeting,

an Ascensa Health employee, Valencia Beard (“Beard”), told Jones that Beard felt

uncomfortable with Jones’ statements and tone during the meeting.

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                                                     31.

       In or about February 2020, Luckey became pregnant and, due to subsequent

medical complications, Luckey suffered from Gestational Carpal Tunnel Syndrome

(“CTS”), resulting in numbness, tingling, sharp pains, throbbing sensations in her

limbs, and loss of motor skills.

                                                     32.

       In June 2020, Luckey requested and received, from Ascensa Health’s Human

Resources, FMLA information and documents related to maternity leave.

                                                     33.

       On July 7, 2020, Luckey received a compensation increase based upon tenure

and professional performance at Ascensa Health.

                                                     34.

       Due to the pain, numbness, and loss of motor skills caused by the severe CTS,

on or about July 24, 2020, Luckey advised Jones that Luckey could no longer drive

Ascensa Health’s van.




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                                                     35.

       Following an evaluation on July 27, 2020, Dr. Shawna D. Woodruff, provided

Luckey with documentation, stating that Luckey was diagnosed with CTS, that

Luckey was to refrain from work/activities that could complicate the CTS, and that

Luckey could not perform certain physical activities, including, but not limited to,

driving other than Luckey’s commute to and from work (“Reasonable

Accommodation”).

                                                     36.

       On or about July 31, 2020, Luckey provided Jones with the Reasonable

Accommodation provided by Dr. Woodruff.

                                                     37.

       Almost immediately after Luckey provided Jones with the Reasonable

Accommodation, Jones instructed Luckey to relocate Luckey’s vehicle from an

approved parking lot to the lower parking deck. Alarmed because the relocation

would require Luckey to climb stairs and result in CTS pain, Luckey stated, “I can’t

walk up those stairs.” With hostility, Jones snapped back, “Well, your car has to be

moved because we have movers.” Resigned to deal with the pain and discomfort

associated with the CTS, Luckey replied, “Yes, ma’am.”



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                                                     38.

       Pursuant to Jones’ instruction, Luckey went to the parking lot to relocate the

vehicle to the lower parking deck. Although Jones stated that Luckey had to relocate

the vehicle to make room for a delivery truck, the parking lot had more than enough

space for the delivery truck without the relocation of Luckey’s vehicle.

Nevertheless, Luckey drove the vehicle to the lower deck before painfully climbing

the stairs to return to the office.

                                                     39.

       When Luckey returned to the office, a childcare worker, Lateachia, agreed to

relocate Luckey’s vehicle to the approved parking lot following the delivery

purportedly necessitating the relocation. While traversing the hallway, Luckey

advised Jones of the arrangement with Lateachia to subsequently relocate Luckey’s

vehicle due to Luckey’s CTS. Apparently angered, during a group session with

Ascensa Heath’s staff shortly after the advisement, Jones stated to Luckey, “After

this group session, come to my office and I do mean now!”

                                                     40.

       In accordance with Jones’ instructions, following the group session, Luckey

reported to Jones’ office, where Jones immediately stated, “Shut the door—what

was that in the hallway?” Luckey respectfully responded, “I was letting you know

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that I got help with the car—I can’t go downstairs anymore.” Jones angrily replied,

“You were very rude and disrespectful.” After further discussing whether Luckey

or Jones were being rude, Luckey suggested, based upon Jones’ angry tone and

accusations, that they revisit the issue and discussion when Luckey returned to work

on the following Tuesday. As Luckey gathered her personal belongings to leave the

office, Jones irately barked, “Sit back down and we can talk about this, or we can go

to HR and have an employee counseling session.” Uncomfortable with the tone and

tenor of the discussion, Luckey humbly responded, “That’s fine, I prefer for HR to

be in this room.” As Luckey began to leave the office in furtherance of Jones’

request to involve Human Resources, Jones threateningly stated, “If you walk out of

this room, you will be written-up.” Again, in accordance with Jones’ prior direction

and to deescalate the situation, Luckey left the office to seek the involvement of

Human Resources.

                                                     41.

       Immediately after the meeting with Jones, Luckey returned to Luckey’s

office, where Luckey called McLarty.                       Although McLarty observed Luckey’s

emotional distress and physical difficulties while relocating the vehicle, Luckey

advised McLarty of the entire situation and incident involving Luckey, Jones,

Luckey’s CTS, the Reasonable Accommodation, Jones’ instructions in direct

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violation of the Reasonable Accommodation, as well as Jones’ statements,

instructions, and aggressive behavior. Because of Jones’ tenor and tone during the

prior meeting, Luckey requested that McLarty be present during the subsequent

meeting with Jones. McLarty simply responded, “Thank you.”

                                                     42.

       At approximately 2:00PM on July 31, 2020, Luckey met with McLarty and

Jones, who was angrily playing with a slinky toy. Initially, McLarty stated, with a

negative attitude, “Tell me what’s going on.” Because the matter was previously

discussed during the phone conversation, Luckey responded, “Tell you again, we

already spoke.” After McLarty stated, “Yes, tell me again,” Luckey again explained

the events precipitating the meeting. Rather than address Luckey’s concerns,

McLarty stated, “Well, your supervisor gave you direct orders not to leave the room,

and what you did was insubordination.” Despite Luckey’s willingness to apologize

and professionally move forward, Jones simply stated, “I have nothing else to say.”

After stating, “This isn’t going anywhere,” McLarty handed Luckey a yellow

envelope while declaring, “Here is your separation notice.”

                                                     43.

       On the same day Luckey provided Defendants with the Reasonable

Accommodation, Defendants terminated Luckey’s employment.

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                                                     44.

       Under no uncertain terms, Defendants terminated Luckey’s employment and

punished Luckey based solely upon Luckey’s pregnancy.

                                                     45.

       Other employees and individuals, outside of Luckey’s protected class, were

treated differently because these employees and individuals, who were not pregnant,

were not terminated or otherwise subjected to adverse employment actions

associated with purported insubordination.

                                                     46.

       Luckey was qualified and capable of continuing employment as a Child Care

Service Supervisor despite Luckey’s CTS pregnancy.

                                                     47.

       As a result of Defendants’ unlawful actions, Luckey has suffered, among

other things, lost wages and benefits, as well as severe emotional distress.

                                                     48.

       Upon information and belief, similar to the claims involving Howard, Ascensa

Health is attempting to prevent employees from opposing unlawful employment

actions involving Luckey. Recently, Ascensa Health advised employees of the

above-captioned case and required employees to execute documents, wherein

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employees state that they will not testify about Defendants’ unlawful employment

actions on behalf of Luckey. Keeping with practice, Ascena Health seeks to retaliate

against any employee opposes the unlawful employment practices forming the basis

of the above-captioned complaint.

                                       CLAIMS FOR RELIEF

                                      COUNT I:
                           PREGNANCY DISCRIMINATION
                       IN VIOLATION OF TITLEVII AND ADA
                          (Against Defendant Ascensa Health)

                                                     49.

       Luckey re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                     50.

       Title VII and the ADA prohibit employers from discriminating against

employees because of pregnancy.

                                                     51.

       Defendants violated Title VII and the ADA, such that a cause of action exists

where discrimination on the basis of pregnancy was the causative agent of adverse

actions directed at Luckey by Defendants.




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                                                    52.

      At all relevant times, Luckey was a pregnant female, qualified individual

under the ADA, employee of Ascensa Health, and a member of a protected class

under Title VII and the ADA.

                                                    53.

      At all relevant times, Luckey was qualified for her position, and capable of

performing, as a Child Care Service Supervisor.

                                                    54.

      At all relevant times, Ascensa Health was Luckey’s employer, as defined by

Title VII and ADA.

                                                    55.

      At all relevant times, Jones was Family Care Center Coordinator and McLarty

was Director of Administrative services—both serving as Luckey’s supervisor—

responsible for, among other things, hiring and terminating Luckey’s employment.




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                                                     56.

       Within hours of receiving the Reasonable Accommodation stating that

Luckey could not operate motor vehicles or engage in certain tasks resulting in

physical strain due the CTS pregnancy, Jones needlessly directed Luckey to relocate

a vehicle and traverse stairs resulting in severe pain and, when Luckey had the

audacity to inform Jones that Luckey could not relocate the vehicle or traverse the

stairs, Defendants immediately terminated Luckey’s employment.

                                                     57.

       With the knowledge that Luckey was pregnant, Defendants terminated

Luckey’s employment solely because of the pregnancy.

                                                     58.

       Defendants’ termination of Luckey’s employment due to pregnancy

constitutes unlawful discrimination on the basis of pregnancy in violation of Title

VII and the ADA.

                                                     59.

       As a result of the termination of employment based solely upon Luckey’s

pregnancy, Luckey was treated less-favorably than similarly-situated, non-pregnant

employees of Ascensa Health in violation of Title VII and the ADA.



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                                                     60.

       Defendants willfully and wantonly disregarded Luckey’s rights.

                                                     61.

       Defendants discriminated against Luckey in bad faith.

                                                     62.

       The effect of the conduct complained of herein has been to deprive Luckey of

equal employment opportunity and to otherwise adversely affect Luckey’s status as

an employee solely because of Luckey’s pregnancy.

                                                     63.

       As a direct and proximate result of Defendants’ intentional violation of Title

VII and the ADA, Luckey has been made the victim of acts that have adversely

affected Luckey’s psychological and physical well-being and, therefore, Defendants

are liable for these damages.

                                        COUNT II
                             DISABILITY DISCRIMINATION
                          IN VIOLATION OF THE REHAB ACT
                            (Against Defendant Ascensa Health)

                                                     64.

       Luckey re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.


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                                                     65.

       The Rehab Act prohibits entities receiving Federal financial assistance from

discriminating against otherwise qualified persons with disabilities in the terms,

conditions, or privileges of employment.

                                                     66.

       At all relevant times, Ascensa Health received, inter alia, Federal financial

assistance, funding, and grants related to substance abuse programs.

                                                     67.

       At all relevant times, the relationship between Luckey and Ascensa Health

was a relationship of “employee” to “employer,” such that a cause of action exists

where discrimination based on disability is alleged to be the cause of an adverse

action directed to the employee by the employer.

                                                     68.

       At all relevant times, Ascensa Health acted by and through its agents and

employees, each of whom acted within the course and scope of their respective

employment with and for Ascensa Health.




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                                                     69.

       During Luckey’s employment with Ascensa Health, Luckey was a qualified

individual with a disability, which substantially impaired one or more major life

activities, as defined by the Rehab Act.

                                                     70.

       Ascensa Health regarded Luckey as having a qualified disability.

                                                     71.

       During Luckey’s employment, Ascensa Health had notice and knew of

Luckey’s qualified disability after, inter alia, Luckey notified Defendants of the CTS

pregnancy, Luckey provided Defendants with the Reasonable Accommodation from

Luckey’s healthcare provided, and Luckey stated, in accordance with the Reasonable

Accommodation, that Luckey could not relocate a vehicle and traverse certain stairs.

                                                     72.

       Although Luckey requested certain reasonable accommodations that would

have allowed Luckey to continue performing the essential functions of Luckey’s

position, Defendants failed to grant a reasonable accommodation, required Luckey

to perform acts specifically prohibited by Luckey’s healthcare provider, and

punished Luckey who advised Defendants that the Reasonable Accommodation

precluded Luckey from operating vehicles and traversing stairs.

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                                                     73.

       Defendants terminated Luckey’s employment because of Luckey’s qualified

disability and request/need for a reasonable accommodation.

                                                     74.

       Consequently, Luckey was unlawfully subjected to discrimination because of

an actual disability, a record of disability, and/or being regarded as an individual

with disability.

                                                     75.

       As a proximate and direct result of Defendants’ conduct, Luckey has suffered,

and continues to suffer, damages, including, but not limited to, emotional distress,

inconveniences, loss of income and benefits, for which Luckey is entitled to recover

in an amount to be determined by the enlightened conscience of the jury.

                                                     76.

       Defendants’ actions were willful, intentional, malicious, and conducted in bad

faith with callous and/or reckless indifference to Luckey’s Federally-protected

rights, thereby entitling Luckey to an award of punitive damages.




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                            COUNT III
                         RETALIATION
    IN VIOLATION OF TITLE VII, THE ADA, AND THE REHAB ACT
                (Against Defendant Ascensa Health)

                                                     77.

       Luckey re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                     78.

       The Title VII, the ADA, and the Rehab Act prohibit retaliation against an

employee who opposes discrimination on the basis of, inter alia, gender, pregnancy,

and/or disability.

                                                     79.

       Luckey requested reasonable accommodation for her qualified disability that

impaired one or more major life activities, conduct protected by the Rehab Act.

                                                     80.

       After learning of Luckey CTS pregnancy, Defendants forced Luckey to

relocate a vehicle and traverse stairs, which Defendants knew were prohibited by

Luckey’s healthcare provider and the Reasonable Accommodation.




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                                                     81.

       Although Luckey relocated the vehicle and traversed the stairs in violation of

her healthcare provider’s instructions, following Luckey’s objection and request to

continue performing under a reasonable accommodation, Defendants immediately

terminated Luckey’s employment.

                                                     82.

       Defendants have a history of retaliating against employees who challenge

unlawful employment practices. For example, after a former-employee, Howard,

commenced litigation related to unlawful employment practices, on or about

December 5, 2019, Jones and Gray threatened to terminate the employment of any

Ascensa Health employee who testified on behalf of the former employee or

otherwise spoke about unlawful employment practices at Ascensa Health. Similarly,

upon information and belief, Ascensa Health has recently advised employees of the

above-captioned case, required employees to sign documents stating that they will

not testify on behalf of Luckey, and apparently threatened to take adverse

employment actions against any employee who opposes the unlawful employment

actions forming the basis of the above-captioned complaint.




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                                                     83.

       Defendants’ adverse employment actions against Luckey constitute unlawful

retaliation against Luckey in violation of Title VII, the ADA, and the Rehab Act.

                                                     84.

       Defendants’ retaliatory actions were willful, deliberate, and intended to cause

Luckey harm and/or were committed with reckless disregard of the harm causes to

Luckey in derogation of Luckey’s Federally-protected rights.

                                                     85.

       As a direct and proximate result of Defendants’ retaliation, Luckey has

suffered financial losses, been deprived of employment, and otherwise lost

compensation in the form of, inter alia, wages, insurance, retirement benefits, social

security benefits, and other due benefits.

                                                     86.

       Defendants’ retaliation has also caused, continues to cause, and will cause

Luckey to suffer injuries, warranting an award of compensatory and punitive

damages in an amount to be determined at trial.

                                                     87.

       Luckey is entitled to recover attorney’s fees and litigation expenses.



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                               COUNT IV:
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
          (Against Defendants Ascensa Health, McLarty, and Jones)

                                                     88.

       Luckey re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                     89.

       Defendants’ statements, conduct, and behavior towards Luckey were

intentional and reckless, extreme and outrageous, causing Luckey severe shame,

humiliation, embarrassment, and emotional distress of a nature that no pregnant

person should endure.

                                                     90.

       Defendants’ statements, conduct, and behavior towards Luckey demonstrate,

among other things, a “retaliatory animus.” For example, after Luckey provided

Defendants with the Reasonable Accommodation provided by Luckey’s healthcare

provider, Defendants immediately required, in direct violation of the Reasonable

Accommodation, Luckey to relocate a vehicle and traverse stairs, resulting in severe

pain related to Luckey’s CTS pregnancy.                            Moreover, when Luckey advised

Defendants that, pursuant to the Reasonable Accommodation, Luckey could not


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continue to relocate the vehicle and/or traverse the stairs, Defendants immediately

terminated Luckey’s employment.

                                                     91.

       At all relevant times, the Parties had a special, employer-employee

relationship, wherein Defendants had control over Luckey and Luckey’s income,

livelihood, and/or healthcare during Luckey’s known CTS pregnancy.

                                                     92.

       When engaging in the intentional, reckless, extreme, and outrageous conduct

towards Luckey, Defendants knew that Luckey was pregnant.

                                                     93.

       Defendants knew or should have known that such conduct would result in the

severe emotional distress suffered by Luckey.

                                                     94.

       As a result of Defendants’ conduct, Luckey has and will continue to suffer

severe emotional distress, medical complications associated with the CTS

pregnancy, and other damages for which Luckey is entitled to recover.




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                                   COUNT V
                  NEGLIGENT RETENTION AND SUPERVISION
                      IN VIOLATION OF GEORGIA LAW
                       (Against Defendant Ascensa Health)

                                                     95.

       Luckey re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                     96.

       As a result of the actions taken by Jones and McLarty, Luckey suffered,

among other things, discrimination based on pregnancy and disability, as well as

retaliation.

                                                     97.

       Ascensa Health owed Luckey a duty to hire, retain, and supervise employees

who would lawfully conduct themselves and not engage in discriminatory,

retaliatory, or tortious conduct.

                                                     98.

       By negligently retaining and supervising its employees, including Jones and

McLarty, Ascensa Health breached its duty to hire, retain, and supervise an

employee who would lawfully behave.




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                                                     99.

       Ascensa Health knew or, in the exercise of ordinary diligence, should have

known of the propensity of its employees, to engage in unlawful conduct against

Luckey.

                                                     100.

       By failing to engage in any corrective or remedial action, Ascensa Health

ratified, condoned, and/or adopted its employees’ unlawful conduct.

                                                     101.

       As a direct and proximate result of Ascensa Health’s negligent retention and

supervision of its employees, as well as the failure to take any remedial or corrective

action with respect to the known unlawful actions taken by Ascensa Health’s

employees, including Jones and McLarty, Luckey suffered damages.

                                                     102.

       Ascensa Health’s negligent conduct entitles Luckey to compensatory

damages, punitive damages, as well as any and all other remedies available under

the law.

                                         PRAYER FOR RELIEF

       WHEREFORE, Luckey respectfully requests that this Court:

       (1)      Grant Luckey a trial by jury as to all triable issues of fact;

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   (2)      Grant declaratory judgment that Luckey’s rights under Title VII, ADA,

            and Rehab Act were violated;

   (3)      Grant an injunction prohibiting the Defendants from engaging in such

            unlawful conduct in the future;

   (4)      Award compensatory damages in an amount to be determined by a jury;

   (5)      Award appropriate back wages, future wages, and compensation for

            other damages in amounts to be shown at trial;

   (6)      Award prejudgment interest on any award of back pay;

   (7)      Award liquidated damages;

   (8)      Award punitive damages in an amount reasonable and commensurate

            with the harm done and calculated to deter such conduct in the future;

   (9)      Award Luckey’s attorneys’ fees, costs, and disbursements; and

   (10) Award Luckey such further and additional relief as may be just and

            appropriate.




                    [SIGNATURE ON THE FOLLOWING PAGE]

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   Respectfully submitted, this 28th day of January, 2021.
                                        MOLDEN & ASSOCIATES

                                         /s/ Regina S. Molden
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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

LA’DREA L. LUCKEY,

                Plaintiff,

       vs.                                                    CIV. ACTION NO. ______________

ST. JUDE’S RECOVERY CENTER,                                   JURY TRIAL DEMANDED
INC., doing business as Ascensa Health;
ANDREA MCLARTY; and
JYLYAN JONES,

                Defendants.


                  LOCAL RULE AND SERVICE CERTIFICATION

       The undersigned certifies that this document has been prepared with a font

and point selections approved by the Court in Local Rule 5.1(B) and that the

foregoing Complaint for Damages has been filed with the Clerk using the CM/ECF

system which will notify to the attorney(s) of record.

       Respectfully submitted, this 28th day of January, 2021.

                                                     MOLDEN & ASSOCIATES

                                                      /s/ T. Orlando Pearson
                                                     T. ORLANDO PEARSON
                                                     Georgia Bar No. 180406



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